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AO 458 (Rev. 06/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                            for the
                                            SOUTHERN
                                             __________DISTRICT
                                                        District of OF INDIANA
                                                                    __________


                     GABRIELA NIEVES                           )
                             Plaintiff                         )
                                v.                             )      Case No.     1:20-CV-00320-JMS-DML
                CARMEL CLAY SCHOOLS                            )
                            Defendant                          )

                                              APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

          Gabriela Nieves                                                                                              .


Date:          04/06/2021                                                               /s/Annemarie Alonso
                                                                                         Attorney’s signature


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